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           EXHIBIT 95-B
    Redacted Version of
Document Sought to be Sealed
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                               CONFIDENTIAL

1                    UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3
4    IN RE:     FACEBOOK, INC.,                MDL No. 2843
5    CONSUMER USER PROFILE                     Case No.
6    LITIGATION                                18-md-02843-VC-JSC
     ___________________________
7    This document relates to:
8    ALL ACTIONS
     ____________________________
9
10                           **CONFIDENTIAL**
11
12            ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13         CORPORATE REPRESENTATIVE - MICHAEL DUFFEY
14   (Reported Remotely via Video & Web Videoconference)
15        Palo Alto, California (Deponent's location)
16                     Wednesday, June 2, 2022
17                                 Volume I
18
19   STENOGRAPHICALLY REPORTED BY:
20   REBECCA L. ROMANO, RPR, CSR, CCR
21   California CSR No. 12546
22   Nevada CCR No. 827
     Oregon CSR No. 20-0466
23   Washington CCR No. 3491
24   JOB NO. 5234611
25   PAGES 1 - 194

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1                    UNITED STATES DISTRICT COURT
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     IN RE:    FACEBOOK, INC.,                 MDL No. 2843
4    CONSUMER USER PROFILE                     Case No.
     LITIGATION                                18-md-02843-VC-JSC
5    ___________________________
6    This document relates to:
7    ALL ACTIONS
8
     ____________________________
9
10
11
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13
14
15                DEPOSITION OF MICHAEL DUFFEY, taken on
16   behalf of the Plaintiffs, with the deponent located
17   in Palo Alto, California, commencing at
18   9:14 a.m., Wednesday, June 3, 2022, remotely
19   reported via Video & Web videoconference before
20   REBECCA L. ROMANO, a Certified Shorthand Reporter,
21   Certified Court Reporter, Registered Professional
22   Reporter.
23
24
25

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1                         APPEARANCES OF COUNSEL
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3
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1                         APPEARANCES OF COUNSEL
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1                    APPEARANCES OF COUNSEL(cont'd)
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1                    APPEARANCES OF COUNSEL(cont'd)
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1                           APPEARANCES(cont'd)
2    (All parties appearing via Web videoconference)
3
4    ALSO PRESENT:
5            Ian Chen, Associate General Counsel,
6    Meta Platforms
7            John Macdonell, Videographer
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1               MR. FALCONER:     Objection.     Form.           10:02:37

2               THE DEPONENT:




7         Q.    (By Ms. Weaver)     And specifically, does

8




10        A.    My understanding is that




                                                             I

13   don't believe




15        Q.    And when you say

                 what do you mean?

17        A.

18        Q.    So for the record,




                                                 ; is that       10:04:46

21   correct?

22        A.    I'm not -- I'm not sure of the exact

23

                     That would be a question for the law

25   enforcement response team.                                  10:05:06

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1            Q.      What is the law enforcement response          10:05:07

2    team?

3            A.      That -- that team is -- is -- receives

4    subpoenas and requests from law enforcement

5    regarding individual users at Facebook.                       10:05:31

6            Q.




8                    MR. FALCONER:     Objection.     Beyond the

9    scope of the notice.

10                   And, Mr. Duffey, again, I'll just caution     10:05:49

11   you:     Don't reveal any privileged communications

12   you may have had in the course of your work at the

13   company in answering that question.

14                   THE DEPONENT:     I don't know -- I don't

15   know the -- the -- all of the reasons why




                  DYI.   The ability to download your

19   information was available to users.

20                   I -- I -- I think that it -- the




25           Q.      (By Ms. Weaver)     And when you say          10:07:07

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1           Q.    Can you identify which data in Hive was        11:09:42

2    placed on legal hold for this case?

3           A.    No, I can't.

4           Q.    Can anyone?

5           A.    Can you -- can we go back two questions        11:10:09

6    ago?     Just so I -- I understand the question.

7           Q.    Yeah.   No problem.

8                 Let me try it this way.      Was any data in

9    Hive placed on legal hold for this case?

10          A.    Yes.                                           11:10:33

11          Q.




13          A.    I understand that there are           Hive

14   tables




18   If -- if I were to -- you know,




22          Q.    It is possible for Facebook to

                                 correct?

24          A.

                                                                 11:11:53

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